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                               LUXOTTICA OF AMERICA INC. D/B/A
                         7     LENSCRAFTERS AND LUXOTTICA
                               RETAIL NORTH AMERICA, INC.
                         8
                         9                             UNITED STATES DISTRICT COURT
                     10                              CENTRAL DISTRICT OF CALIFORNIA
                     11
                     12        PASSION GABOUREL, individually and            Case No.                    (removed
                               on behalf of all others similarly situated,   from Los Angeles Superior Court case
                     13                                                      no. 21STCV43173)
                                               Plaintiff,
                     14                                                      DECLARATION OF AMANDA
                                     v.                                      RABANUS IN SUPPORT OF
                     15                                                      NOTICE TO FEDERAL COURT OF
                               LUXOTTICA OF AMERICA INC. d/b/a               REMOVAL OF CIVIL ACTION
                     16        LENSCRAFTERS, an Ohio corporation;            FROM STATE COURT PURSUANT
                               LUXOTTICA RETAIL NORTH                        TO 28 U.S.C. SECTIONS 1332, 1441
                     17        AMERICA, INC., a business entity of           AND 1446
                               unknown form; and DOES 1 through 50,
                     18        inclusive,
                     19                        Defendants.
                                                                             Action Date:    January 21, 2022
                     20
                     21              I, Amanda Rabanus, declare as follows:
                     22              1.     I am employed as the Manager of Business Data of Luxottica of America
                     23        Inc. (“Luxottica” and “Company”). I make this declaration in support of Defendant’s
                     24        Notice of Removal of Civil Action to Federal Court under 28 U.S.C. sections 1332,
                     25        1441, and 1446. I am older than the age of 18 and have personal knowledge of the facts
                     26        contained herein, unless otherwise stated, and, if called to testify, I could and would
                     27        competently testify thereto.
                     28        ///
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                         1           2.    As the Manager of Business Data of Luxottica, I am familiar with the types
                         2     of documents that Luxottica maintains for its current and former employees, including
                         3     employment and payroll data that Luxottica maintains for its employees in the regular
                         4     course of business. I make this declaration based on personal knowledge and my review
                         5     of documents and information in Luxottica’s files. If called as a witness, I could and
                         6     would competently testify concerning the facts set forth below.
                         7           3.    In my capacity as Manager of Business Data, I am familiar with
                         8     Luxottica’s day-to-day business operations and have access to information and reports
                         9     maintained and generated in the ordinary course of business concerning its employees
                     10        and operations.
                     11              4.    In my capacity as Manager of Business Data, I also have access to, and am
                     12        authorized to review current and historical electronic employment data through current
                     13        and previous electronic payroll and human resources systems used by the Company.
                     14        These systems track information regarding Luxottica’s current and former non-exempt
                     15        employees in California, including information relating to their employment. Our
                     16        human resources or payroll personnel update the information when there is a change in
                     17        status. Human resources and payroll personnel, myself included, rely on and use the
                     18        data in these systems during the course of business to obtain reliable employee
                     19        information for various business purposes.
                     20              5.    At my direction the databases listed above were queried to calculate the
                     21        weekly headcount of all LensCrafters employees working in non-exempt, hourly-paid
                     22        job positions in California between November 19, 2017 and January 15, 2022.
                     23              6.    At my direction, the reports based on these queries were analyzed, I
                     24        personally reviewed the results of these analyses, which revealed the following:
                     25                    a.     Between November 19, 2017 and January 15, 2022, LensCrafters
                     26                    has employed an average of 1,493 non-exempt employees in California
                     27                    each week.
                     28                    b.     The average hourly rate for non-exempt employees for the period
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                         1                        November 19, 2017 and January 15, 2022 is $18.45.
                         2                        c.        Between November 2020 and January 15, 2022, LensCrafters has
                         3                        employed an average of 1,270 non-exempt employees in California each
                         4                        week.
                         5              I declare under penalty of perjury under the laws of the United States of America
                         6     and the State of California that the foregoing is true and correct.
                         7              Executed this 21st day of January 2022, at Cincinnati, Ohio.
                         8
                                                                                   By:
                         9
                                                                                     AMANDA RABANUS
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